   

~Case 1:04-cv-01235-.]DT-STA Document 12 Filed 06/15/05 Page 1 5

001-074-00
IN THE UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE
AT JACKSON

Ho rt B. Di Tro!|c:), £:`!er|<
U. S. DIST CCUF'ET
. D. OF TN, JACKSON

DoNALD L. Rurs, JR_ ana REGINA D. Rurs
Piaimift(g)

v NO. 1:04cv 235 T/An
DEPUTY SHERIFF DANNY BROWNING AND
SHERIFF MIKE WILSON, Individually And in
Their official capacities and WEAKLEY
COUNTY

MO |ON
DATE_. RANTED

n // Qw')\q:m. QM
/ Jam D. Todd
j U.S. strict Judge

)
)
)
)
)
)
)
)
)
)
)
)

Defendant(s)

MOTION TO CONTINUE /

 

Defendants, Weakley County, Sheriff Mike Wilson, andDeputy Sheriff Danny Browning, by and
/

Order continuing this case from its current

    
   
 
     
  
    
 

through counsel of record, respectfully move the Court for
trial date. ln support hereof, counsel for defendant W
l. This cause is set for trial on Wednesd October 5 , 5002.
2. Contemporaneously to the filin of this Motion, Defendants’ counsel is filing a Motion to
Compel discovery responses As se orth in that Motion, Defendants sent Interrogatories and Requests

for Production of Documents Plaintiffs on April l, 2005. To date, no response has been received.

3. The deadline r completing discovery is June lO, 2005.

4. Counsel r Plaintiffs and counsel for Defendants have spoken over the past:t;hrée;WeekéD

li,'} ’ ;_r_'
adlines 1n this case. Counsel for Plaintiffs has relayed that his father‘h“as\]recently’~’passe?

2 c;~ 11 in
away, and th' event has hindered him from complying with the previously set deposifior'i"deadhne»jin th;?\

concerning the

. §"“~ m ~:éi’
QC?-t§_~»` I'\J
iff-555

\_

case. l
, _.__;)
'”" §§ 'f“)

5. Counsel for Plaintiffs and counsel for Defendants spoke on June 8, 2005, wherein counsel for
Plaintiffs informed counsel for Defendants that he Would be filing a motion for a voluntary dismissal

Thls document entered on the docket sheet ln oomptianoe 0
la

r,
wnh nuts 53 and,'or 79 (a) FRCP on _.O.Lf_l..lLQ.i_-.

Case 1:04-cv-01235-.]DT-STA Document 12 Filed 06/15/05 Page 2 of 3 Page|D 19

6. Given that discovery has not proceeded, Defendants respectfully request a continuance of the

current trial Setting.
Therefore, Defendants respectfully request the Court to enter an order continuing this case from its

current trial date and to reset this case for a time to be determined by the court.

Respectfully submittedJ

PENTECOST, GLENN&RU£M D, PLLC

By; %{HMN /7

Jarnes I. Pentecost (#011640)£”
Brandon O. Gibson (#21485)
Attorneys for Defenda_nts
106 Stonebridge Blvcl
Jackson, TN 38305

(731) 668-5995

CERTIFICATE OF SERVICE

This is to certify that l have served a copy of this pleading or paper personally or by mail upon each
attorney or firm of attorneys appearing of record for each adverse party or each pro se party on or before the
filing date thereof

DATED; rhis. the 14th day ar June, 2005.

PENTECOST, GLENN & RUDD, PLLC

By¢ €g¢ma&)n OQ§Z/\

lames l Pentecost(#011640)
Brandon O. Gibson (#21485)
Attorneys for Defendants
COPIES SERVED UPON:
Richard B. Fields
688 Jefferson Avenue
l\/[emphis, TN 3 8105

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case l:04-CV-01235 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

sssEE

 

Pam BeleW

CIRCUIT COURT CLERK
Weakley County Courthouse
P.O. Box 28

Dresden7 TN 38225

Richard B. Fields

LAW OFFICE OF RICHARD B. FIELDS
688 Jefferson Ave.

l\/lemphis7 TN 38105--193

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Honorable J ames Todd
US DISTRICT COURT

